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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


In re:                                                                Chapter 11

WELLPATH HOLDINGS, INC., et al.,1                                     Case No. 24-90533 (ARP)


                                        Debtors.                      (Jointly Administered)


                    STIPULATION AND AGREED ORDER
    REGARDING THE UNITED STATES OF AMERICA’S RESPONSE IN OPPOSITION
     TO DEBTORS’ EMERGENCY MOTION FOR ENTRY OF INTERIM AND FINAL
     ORDERS TO ENFORCE THE AUTOMATIC STAY OR IN THE ALTERNATIVE
         EXTEND THE AUTOMATIC STAY TO NON-DEBTOR DEFENDANTS

         The above-captioned debtors and debtors in possession (collectively, the “Debtors”) and

The United States of America (the “Movant” or the “United States,” as applicable, and together

with the Debtors, the “Parties”) hereby enter into this stipulation and agreed order (this “Stipulation

and Agreed Order”) as follows:

         WHEREAS, on March 7, 2023, Martin Vargas brought suit against certain of the Debtors

and other defendants (together with the Debtors, collectively, the “Defendants”) in Martin Vargas

v. United States et al., No. 5:23-cv-00380-JWH-SP in the U.S. District Court for the Central

District of California (the “Lawsuit”);

         WHEREAS, in the Lawsuit, Martin Vargas asserts certain claims and causes of action

against the Defendants related to the alleged failure to protect Martin Vargas from COVID-19 and

alleged tort claims pursuant to the Federal Tort Claims Act (“FTCA”), 28 U.S.C §§ 1346(b),

2671-80;


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     A complete list of the Debtors (as defined below) in these chapter 11 cases may be obtained on the website of the
     Debtors’ claims and noticing agent at https://dm.epiq11.com/Wellpath. The Debtors’ service address for these
     chapter 11 cases is 3340 Perimeter Hill Drive, Nashville, Tennessee 37211.
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       WHEREAS, the Debtors dispute any and all liability with regard to any of the damages

alleged to have been suffered by Martin Vargas;

       WHEREAS, on November 11, 2024 (the “Petition Date”), the Debtors filed voluntary

petitions for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)

in the United States Bankruptcy Court for the Southern District of Texas (the “Court”);

       WHEREAS, on November 12, 2024, the Debtors filed the Debtors’ Emergency Motion for

Entry of Interim and Final Orders to Enforce the Automatic Stay or in the Alternative Extend the

Automatic Stay to Non-Debtor Defendants [Docket No. 17] (the “Stay Extension Motion”) seeking

extension of the automatic stay imposed by section 362(a) of the Bankruptcy Code to Non-Debtor

Defendants (as defined in the Stay Extension Motion), and the Court entered the Amended Interim

Order Enforcing the Automatic Stay [Docket No. 69] (the “Stay Extension Order”) staying all

Lawsuits (as defined in the Stay Extension Motion) in their entirety, including claims against the

Non-Debtor Defendants, on an interim basis;

       WHEREAS, on December 2, 2024, Movant filed the Response in Opposition to Debtors’

Emergency Motion for Entry of Interim and Final Orders to Enforce the Automatic Stay or in the

Alternative Extend the Automatic Stay to Non-Debtor Defendants [Docket No. 242] (the “Stay

Objection”) opposing the relief sought by the Stay Extension Motion;

       NOW, THEREFORE, IT IS STIPULATED AND AGREED:

       1.      The Parties agree that the automatic stay imposed by section 362(a) of the

Bankruptcy Code and extended to Non-Debtor Defendants does not extend to claims or causes of

action against the United States in the Lawsuit.




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       2.      Nothing in this Stipulation and Agreed Order by this Court shall be interpreted to

modify the automatic stay as to the Debtors or Defendant GEO Group, Inc., or with respect to any

other issue or claims related to the Lawsuit.

       3.      Entry of this Stipulation and Agreed Order shall resolve the Stay Objection, and

any other relief sought in the Stay Objection shall be deemed denied and any other objections shall

be deemed overruled.

       4.      This Court retains exclusive jurisdiction over any matter arising from or related to

the implementation, interpretation, and enforcement of this Stipulation and Agreed Order.

Dated: __________, 2024
Houston, Texas


                                                Alfredo R. Pérez
                                                UNITED STATES BANKRUPTCY JUDGE




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STIPULATED AND AGREED TO THIS 17TH DAY OF DECEMBER, 2024:

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